 

Case1:07-cv-04615-LTS Document 2 Filed 05/31/2007 Page1 of1

l`A8Z6SVS9/10000`00Z006

l mm ls
000§-§88 (zlz)
80z0-mol AN ‘>IIOA MQN
'QAV uo;Bungj got

HUEPHHA 19ISAILI;) wl
(881 -Al) 'lr ‘dw>n;>'a 'H vaoql

/>¢~_....~ \Q+LL ‘H

(]E[llI/\lH
ANVdI/\IOC) DNld<IIHS SE§EI[\HddVH E["IE[HOCI
__ggluge[({ 1031 s/(Qulonv

cl”l"l cEII/\IOH )INV”IEI

 

Looz ‘1£ API/\I
){10)§ AAQN ‘){10)§ AAQN :pele(]

‘uop,elodloo

p[:)q /([og[qnd 12 50 amqr_;ote 10 /(Je;pgsqns 10 uomzloclloo p[aq A[o;[qnd e lou Sg q§[llp\[[”[

ANVdI/\IOC) {)NlchIHS SSEINlddVH E[TE{HOG ‘SlUQHO 51! /{q IQSU“OC‘ 01 PQP!AOJd UO!JWUOJU!

01 SUFPIOQW ‘19[{1 SQHWQO (]ELLII/\H”l ANVcU/\IOC) D[\HchIHS SSEINIddVH E[”IE[HO(] JJ!lu!gId

105 [:)sunoo pQuB!Sl:)pun QqJ, ‘Qmp:)oold [gAg;) go s:)[n}{ [el:)p:):[ aql 50 ['L a[nH 01 mensan

 

quepu;)};)(]

"V'S SLHOJXE[ EI(]VHlOl/\ISOC)

 

 

 

-1Sug\2312-
LN:»[W:»I.LVLS I'L mmi
‘JJ!JH!@I<I
'A!:) Lo
§ ‘<JHLIWH ANVJWO:)
§ QNMCHHS SSHNIJCWH immocl
LUUZ L 23 /WN >IHOA AAHN 50 l:)mlsla NHHHLHOS

lHHOC) lC)IHlSICI SEIlVlS (]EILINH

0009-988(313)

sozo-leol AN ‘>IlOA MQN

':)AV uolSu;xQ”I gov

SU!PI!HA laISMI:) m

(881€-211) 'lr ‘dw>n@€l 'H va<>ql

<JHLIWH AchH/\lo;) DNI<I(HHS SSHNIJJVH msmoa

9§91>» A;~§ m §::H;;J;‘;;::;
MMS §Wm°‘

